          Case 4:24-cv-05138-RLP                    ECF No. 7            filed 01/03/25      PageID.20         Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action

                                                                                                                   FILED IN THE

                                         UNITED STATES DISTRICT COURT                                          U.S. DISTRICT COURT
                                                                                                         EASTERN DISTRICT OF WASHINGTON
                                                                  for thH_
                                                     Eastern District of Washington                       Jan 03, 2025
             AMANDA CHEYENE NARANJO,                                                                          SEAN F. MCAVOY, CLERK


                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:24-CV-05138-RLP
  FRANKLIN COUNTY CORRECTIONS CENTER,                                )
LOURDES MEDICAL CENTER, ANITA ALAYA RUIZ                             )
        and ALMA BAHEMA PINEDA,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Pursuant to the Order filed at ECF No. 6, this action is DISMISSED WITHOUT PREJUDICE for failure to comply with
u
              the filing fee and in forma pauperis requirements of 28 U.S.C. §§ 1914 and 1915.




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                       REBECCA L. PENNELL




Date: 1/3/2025                                                               CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Nicole Cruz
                                                                                           %\ Deputy Clerk

                                                                             Nicole Cruz
